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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

V.                                                            4:03CR00169-01 JMM

BOB SAM CASTLEMAN

                                              ORDER

       Pending is the Defendant’s second motion for termination of his term of supervised

release. Defendant merely states that his term of supervised release should be terminated

pursuant to 18 U.S.C. § 3583(e)(1) because he has served more than half of his supervised

release and he has exhibited exemplary behavior. After reviewing § 3583(e)(1) and the factors

set forth in § 3553, the Court is not satisfied that such action is warranted by the conduct of the

Defendant and the interest of justice. The Court would need more information upon which to

base such an extraordinary ruling, i.e., recommendation from U.S. Probation Officer and/or

United States Attorney, evidence of a compelling health or employment reason, etc.

Accordingly, Defendant’s motion (Docket # 104) is DENIED.

       IT IS SO ORDERED this 4th day of February 2008.



                                                              ______________________________
                                                              James M. Moody
                                                              United States District Judge
